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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )              Case No. 8:12CR152
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                   ORDER
BRENDA DWYER,                                   )
                                                )
                     Defendant.                 )


       This case is before the court on the defendant Brenda Dwyer's Motion to Amend

Pre-Trial Detention Order (#29). The motion is denied.

       On June 29, 2012 the court held a detention hearing pursuant to 18 U.S.C. § 3142(f)

of the Bail Reform Act. The court ordered the defendant detained pursuant to 18 U.S.C.

§ 3142(e) and (i). The court entered a Detention Order (#16) setting our the reasons for

detention. The defendant's Motion to Amend the Pre-Trial Detention Order (#29) contains

no additional evidence or information that would cause the court to reconsider its ruling.

This is particularly true given the defendant's substantial prior criminal history record,

including a conviction for failure to appear and four prior felony convictions.

       IT IS ORDERED, the defendant's Motion to Amend Pre-Trial Detention Order (#29)

is denied without hearing.

       Dated this 1st day of August, 2012.

                                             BY THE COURT:


                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
